
Paul Stam, Attorney at Law, Apex, R. Daniel Gibson, Attorney at Law, For The New Hanover County Board Of Education
Amy O'Neal, Attorney at Law, For De Luca, Francis X., et al.
Jennie Wilhelm Hauser, Special Deputy Attorney General
Mary MacLean Asbill, Attorney at Law, Brooks Rainey Pearson, Attorney at Law, Blakely E. Hildebrand, Attorney at Law, For North Carolina Coastal Federation, et al.
Marc Bernstein, Special Deputy Attorney General, Matthew W. Sawchak, Solicitor General, James W. Doggett, Deputy Solicitor General, Matt Burke, Solicitor General Fellow, For Stein, Josh (Attorney General)
Lindsey Vance Smith, Attorney at Law, Deborah R. Stagner, Attorney at Law, Raleigh, Allison Schafter, Attorney at Law, For N.C. School Boards Association
Allison B. Schafer, Legal Counsel/Director of Policy
ORDER
*618Upon consideration of the petition for discretionary review, filed by Defendant on the 9th of October 2018 in this matter pursuant to G.S. 7A-31 and the Appellate Rule 16(b) as to issues in addition to those presented as the basis for the dissenting opinion in the Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals: the petition for discretionary review as to additional issues is
"Allowed by order of the Court in conference, this the 30th of January 2019."
Accordingly, the new brief of the Defendant shall be filed with this Court not more than 30 days from the date of certification of this order.
